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AO 91 (Rev 11111) Criminal Complaint



                                       UNITED STATES DISTRICT COURT
                                                                                                                             FILED
                                                                for the                                                  August 04, 2022
                                                                                                                       CLERK, U.S. DISTRICT COURT
                                                      Western District of Texas                                        WESTERN DISTRICT OF TEXAS

                  United States of America                         )
                                                                                                                             Fidel Morales
                                                                                                                BY: ________________________________
                                                                                                                                        DEPUTY
                              v.                                   )
                                                                   )       Case No.
                                                                   )
                                                                                               EP:22-M-1906-MAT
                      GRANT MOSLEY
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)
                                                          AMENDED
                                               CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  August 2,2022                 in the county of                EI Paso                in the
        Western        District of           Texas             , the defendant(s) violated:

             Code Section                                                    Offense Description
Title 19 United States Code,                  It shall be unlawful for any person to transfer or possess a machinegun.
Section 922(0):




           This criminal complaint is based on these facts:

See Attached Affidavit




           ~ Continued on the attached sheet.




                                                                                      Gary Bourland, FBI Special Agent
                                                                                              Printed name and title


Sworn to before me and signed in my presence.


Date:             08/04/2022
                                                                                                Judge ·s signature


City and state:                          EIPaso, TX                               Miguel A. Torres U.S. Magistrate Judge
                                                                                              Printed name and title
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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE WESTERN DISTRICT OF TEXAS



IN THE MATTER OF THE APPLICATION                              )
OF THE UNITED STATES OF AMERICA                               )
FOR CRIMINAL COMPLAINT OF                                     ) CASE NO.

GRANT MOSLEY                                                  )
                                                              )


                            AMENDED CRIMINAL COMPLAINT

Your Affiant has been employed as a Special Agent (SA) with the Federal Bureau of Investigation
(FBI) since September 17, 2017 . Your Affiant is currently assigned to the EI Paso Field Office Violent
Crimes Safe Street's Task Force. Your Affiant has received five months of academic and practical
training at the FBI academy. I also have 23 years of experience as an Infantry Officer with the United
States Marines. Your affiant has knowledge of the nomenclature and specifications of weapons
systems, specifically pistols, rifles and carbines based on the AR-15 platform. Additionally, during
the course of this and other investigations, I have conducted or participated in physical and electronic
surveillance, executed search warrants, debriefed informants and reviewed other pertinent records.
Through my training, education, experience, and through conversations with other agents and law
enforcement officers, I have become familiar with methods used by firearms traffickers to import,
transport, safeguard, manufacture and distribute firearms, and the methods used by firearms
traffickers to collect, transport, safeguard, remit, and/or launder proceeds.

Your Affiant, is familiar with the facts and circumstances of the investigation through my personal
participation; discussions with other agents and personnel from the Bureau of Alcohol, Tobacco
Firearms and Explosives (ATF), U.S. Army Criminal Investigation Division (CID), U.S. Postal
Inspection Service (USPIS) and other law enforcement agencies; my discussions with witnesses
involved in the investigation; and review of records and reports relating to the investigation. Unless
otherwise noted, wherever in this affidavit I assert that a statement was made, the information was
Further your affiant states as follows:

    1. On or about May 12,2022, the Newark, NJ FBI observed a messaging platform channel
       that advertised what appeared to be Glock full auto switches and AR15 auto sears (also
       known as "swift links" or drop in auto sears, commonly abbreviated "DIAS") made on a
       three-dimensional printer as well as computer data files to produce the items.
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2. The "switch" replaces the slide cover plate on a Glock handgun and allows the option of
   semi-automatic (one round fired per pull of the trigger) or fully automatic fire
   (continuous fire until the trigger is released).

3. Through investigation by the ATF, FBI, CID and USPIS, it was determined the "switch"
   is being sold illegally on social media platforms. Often buyers will be directed to
   communicate using a messaging platform.

4. On or about May 22, 2022 through May 28, 2022, a law enforcement officer acting in an
   undercover capacity, known as an online covert employee (aCE) used the
   aforementioned messaging platform channel to inquire about the products advertised on
   that channel.

5. On or about the second week of June 2022, it was observed that the message platform
   channel was offering Glock switches made of metal. The message platform channel user
   indicated that he/she was waiting on one part to complete the Switch and they would be
   available soon.

6. On or about the week of June 12,2022 through June 18,2022, aCE contacted the
   aforementioned user and purchased an ARI5 auto sear, herein after referred to as ITEM
   1, by making monetary payment to a Cashapp account associated with telephone number
   ending in 8476. The Cashapp account username associated with this account is "Grant."

7. Department of Defense Office of the Inspector General confirmed that DEFENDANT
   Grant Lee MOSLEY, is active military. The last address on record for MOSLEY is on
   Fort Bliss, TX and his phone number matched the telephone number ending in 8476.

8. On or about the week of June 19,2022 through June 25, 2022, the package containing
   ITEM 1 was received by law enforcement officers and its contents were examined,
   photographed then secured in evidence storage pending laboratory examination. The
   envelope was a USPS, Priority Mail padded envelope bearing the handwritten return
   address in EI Paso, TX, which is located in the Western District of Texas. The package
   contained ITEM 1, an AR15 auto sear, which appeared to be made of red plastic filament.
   ITEM 1 was secured with clear tape in between two pieces of cardboard type material.

9.    The USPIS provided information associated with the mailing of the package containing
     ITEM 1:
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      a) This package was sent on Junel4, 2022 using a credit/debit card to pay for all
         ending in 2374 issued by USAA from the El Paso, Texas post office located at
         5249 Sanders Ave, El Paso, TX 79924, located in the Western District of Texas.

10. On or about the week of June 19,2022 through June 25,2022, OCE contacted
    aforementioned user, MOSLEY and inquired about a metal Glock switch. As with the
    purchase of ITEM 1, OCE transferred monetary payment through Cashapp to the
    aforementioned Cashapp account as instructed by MOSLEY and purchased a Glock
    switch, herein after referred to as ITEM 2.

11. On or about the week of June 26, 2022 through July 02, 2022, law enforcement officers
    received a package containing ITEM 2. The package and its contents were examined,
    photographed, and secured in evidence storage pending further laboratory examination.
    The package envelope was a USPS Priority padded envelope that had a handwritten
    address label with the same return address as ITEM 1, located in the Western District of
    Texas.

12. The package that contained ITEM 2 was mailed from Deland, FL and was paid for with
    the same USAA debit/credit card ending in 2374. That same debit/credit card was used at
    the Deland post office on June 20, 2022, at a self-service kiosk. During that transaction a
    photo was taken of the customer. The person in said photo appears to be MOSLEY.

13. USPIS provided the customer account information associated with MOSLEY with a
    phone number ending in 8476, and an address located in Deland, FL.

14. An open-source search of social media for Grant MOSLEY revealed his Facebook
    account. The account show pictures of him and other members of the military. On June
    25, 2022, MOSLEY posts "Who want to help me start my business? I'm taking
    donations. I have $500 out of the 3500 needed for startup cost...A gun manufacturing
    business. The machine I need with all the parts and components is 3500 ... The machine
    will allow me to do arl5s, arIOs, p80s, 1911s and ak47s right from the start."

15. USPIS provided package information associated with MOSLEY's customer account. The
    information shows multiple packages with the return address: Grant MOSLEY 2780
    Hyacinth Road, Deland, FL 32724 being shipped to Grant MOSLEY 2780 Hyacinth
    Road, Deland, FL 32724 from the EI Paso, TX post office.

16. Additional review of the messaging channel found multiple videos and photographs of
    customers unpacking merchandise, including a 38 second video of a customer unpacking
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   a red ARI5 auto sear from a padded priority mail envelope, with the same return address
   located in EI Paso, TX.

17. On July 19,2022, while conducting surveillance on MOSLEY at Fort Bliss, TX, USPIS
    and CID agents, witnessed MOSLEY walk with two black trash bags with yellow
    drawstrings. Agents observed MOSLEY walk out of the barracks towards a dumpster
    near the barracks and saw MOSLEY deposit both trash bags into the dumpster. When
    agents went to retrieve the black trash bags with yellow draw strings, all other trash bags
    within the dumpster were white in color. Agents reviewed the contents inside of the two
    trash bags which included two USPS receipts and two receipts to separate stores inside of
    Fort Bliss. All four of the receipts indicated items had been paid for with a Visa Debit
    card ending in 2374.

18. The first USPS receipt indicated a purchase had been made on May 12,2022 at the
    Northgate Station in EI Paso, TX. The second USPS receipt indicated a purchase had
    been made on June 13,2022 at the Contract Postal Unit (CPU) in East Fort Bliss, TX.
    USPIS agent was able to analyze postal records and found both transactions matching the
    transaction on the receipts. Records showed the packages had the same return address
    located in EI Paso, matching both ITEM 1 and 2.

19. On July 22, 2022, FBI and CID Agents obtained MOSLEY's fingerprints from the U.S,
    Army, Ft. Bliss, Texas, Provost Marshal Office. MOSLEY's fingerprints were submitted
    to the FBI Laboratory for comparison to fingerprints obtained on previous OCE
    purchases and purchase packaging from MOSLEY.

20. On or about July 27, 2022, the FBI Laboratory identified twelve (12) fingerprints
    attributed to MOSLEY on materials previously submitted to the laboratory by law
    enforcement officers. Ten (10) attributed fingerprints were on various packaging
    materials associated with ITEM I. Two (2) attributed fingerprints were on various
    packaging materials associated with ITEM 2.

21. On or about July 27, 2022, ATF, OCE conducted a purchase of five fully automatic sears
    from the same message channel user, MOSLEY for $400.

22. On July 30, 2022, ATF, FBI, CID and USPIS Special Agents executed a Federal Search
    Warrant of MOSLEY's storage unit, #310, in.a storage facility located at 8833 Dyer St.,
    EI Paso, TX 79904.

23. During the execution of the search warrant, law enforcement agents discovered and
    seized a 3D printer and 3D printer filaments which are used in 3D printing formed
    objects, including full auto sears. The recovered 3D printer filaments were consistent
    with the material of the AR15 auto sear received in ITEM 1.
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    24. On August 2, 2022, your affiant conducted an interview of MOSLEY. MOSLEY waived
        his Miranda Rights. MOSLEY admitted that he has previously manufactured drop in
        automatic sears within the Ft. Bliss Army Barracks in EI Paso, TX, which is located in
        the Western District of Texas. MOSLEY admitted that he used 3D printing to fabricate
        drop in sears. MOSLEY admitted to selling fully auto switches and fully automatic sears.
        MOSLEY admitted that the aforementioned messaging channel was his. MOSLEY
        admitted he used the aforementioned return address located in EI Paso, TX. MOSLEY
        admitted ownership of the property inside of storage unit #310, located at 8833 Dyer St.,
        EI Paso, TX 79904. MOSLEY admitted to moving into an apartment with a friend in EI
        Paso, TX, where MOSLEY admitted to having a 1911, .45 caliber pistol, and a Glock
        pistol which MOSLEY believed had a fully automatic sear installed. MOSLEY believed
        he had stored additional sears at the address. MOSLEY stated that he had tested the drop
        in auto sear and the sear worked.

Your affiant is aware that Title 18 United States Code, Section 922(0) that it is unlawful for any
person to transfer and possess a machinegun.

Based on my training and experience, I am aware that Title 26 United States Code, Section
5845(b) defines the term "machinegun" as any weapon which shoots, is designed to shoot, or can
be readily restored to shoot, automatically more than one shot, without manual reloading, by a
single function of the trigger. I am also aware that the term shall also include the frame or
receiver of any such weapon, any part designed and intended solely and exclusively, or
combination of parts designed and intended, for use in converting a weapon into a machine gun,
and any combination of parts from which a machinegun can be assembled if such parts are in the
possession or under the control of a person. As such, I am aware that an auto sear, and a switch
are both parts designed and intended for use in converting a weapon into a machine gun, and are
themselves, machineguns.




       ourland
Special Agent
Federal Bureau of Investigation


Subscribed and sworn to me this 4th date of August 2022.




Miguel A. Torres
United States Magistrate Judge
